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                    UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF NEW JERSEY



  UNITED STATES, et al.,

                   Plaintiffs,
            vs.                                    Civil Action No. 2-24-cv-04055
                                                            (JXN-LDW)
  APPLE, INC.,

                   Defendant.


                      MEMORANDUM IN SUPPORT OF

        NON-PARTY MATCH GROUP, INC.’S MOTION TO INTERVENE




                                      CHIESA SHAHINIAN & GIANTOMASI PC
                                                    105 Eisenhower Parkway
                                                        Roseland, NJ 07068

                                                       HUESTON HENNIGAN LLP
                                                  620 Newport Center Dr., Suite 1300
                                                         Newport Beach, CA 92660

                                              KRESSIN MEADOR POWERS LLC
                                            300 New Jersey Avenue NW, Suite 900
                                                          Washington, DC 20001




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I.          INTRODUCTION

            Non-Party Match Group, Inc.1 (“Match Group”) respectfully requests that

  this Court allow Match Group to intervene in this case for the limited purpose of

  obtaining protective order provisions preventing Apple employees from accessing

  highly confidential and competitively-sensitive information produced by Match

  Group on behalf of its portfolio companies.

            Match Group is entitled to mandatory intervention because (i) its application

  is timely; (ii) it has a significant interest in protecting its confidential and

  competitively-sensitive information from falling into Apple’s hands, see Constand

  v. Castor, 2016 WL 5681454, at *3 (E.D. Pa. Oct. 3, 2016) (A non-party’s

  “interest in confidentiality is sufficient to support limited intervention under Rule

  24(a)” where the non-party’s “interests are not already represented by an existing

  party.”); (iii) Match Group and its portfolio companies would be irreparably

  harmed by the disclosure of their confidential information because “[o]nce the

  information . . . is released, ‘the cat is out of the bag,’” see In re Sealed Case, 237

  F.3d 657, 664 (D.C. Cir. 2001) (citation omitted)); and (iv) Plaintiffs and Apple do

  not adequately represent Match Group’s interests, as Apple seeks to allow its in-

  house counsel access to non-party materials, and the Plaintiffs do not oppose



  1
   Match Group, Inc, is a publicly traded company. Match Group is not currently
  aware of any publicly held entity that owns 10% or more of Match Group’s stock.

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  access to Apple’s in-house counsel, see Trbovich v. United Mine Workers of Am.,

  404 U.S. 528, 538 n.10 (1972) (“The requirement . . . is satisfied if the applicant

  shows that representation of his interest ‘may be’ inadequate; and the burden of

  making that showing should be treated as minimal.”).

II.         BACKGROUND

            One of Match Group, Inc.’s subsidiaries, Tinder LLC, owns and operates the

  online dating brand Tinder, which is the most popular dating brand within the

  Match Group portfolio. Declaration of Brandon Kressin (“Kressin Decl.”) ¶ 3.

  Tinder is available to users at no charge, including on Apple mobile devices, and

  Tinder users have the option of purchasing various subscription tiers as well as

  certain features on an á la carte basis. Id. In response to a Civil Investigative

  Demand from the U.S. Department of Justice relating to monopolization claims

  against Apple, Match Group, on behalf of its portfolio companies, provided

  competitively sensitive documents regarding Tinder and other portfolio dating

  brands under cover of confidentiality. Id. ¶ 6. These documents reflect highly

  sensitive and confidential pricing information and data, user behavior information

  and data, and detailed financial information pertaining to Match Group’s portfolio

  companies. The production also included highly sensitive and confidential

  business and negotiation strategy documents concerning counterparties, including

  Apple. Id. ¶¶ 4, 6, 8.


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            On August 1, 2024, the Plaintiffs and Apple notified the Court that after

  “protracted negotiations” lasting “nearly four months,” the parties were at an

  impasse in finalizing a protective order. Dkt. 88 at 2, 8. On August 7, 2024, the

  Court ordered the parties to submit a protective order and any disputes to the Court

  by September 20, 2024. Dkt. 94.

            Plaintiffs and Apple submitted a joint letter on September 20, 2024, in which

  they set out their respective positions regarding the scope of access to sensitive

  information, including information produced by third parties. Dkt. 117 at 5–16.

  Plaintiffs argued for a single tier of confidentiality that would “allow[] Apple’s In-

  House Attorneys to assist in their client’s defense.” Id. at 6. In the alternative,

  Plaintiffs proposed that “[i]f the Court is inclined to establish two tiers [of

  confidentiality], then the Highly Confidential designation should impose even

  greater restrictions, limiting disclosure to outside counsel only.” Id. at 8. Apple

  proposed two tiers, allowing Apple employees and in-house counsel to access

  “Confidential” materials (tier one) and Apple’s unnamed in-house counsel to

  access “Highly Confidential” material (tier two). Id. at 13.

            The parties have indicated that they will conduct extensive third-party

  discovery. See Dkt. 88 at 2 (“Apple seeks to serve unlimited deposition subpoenas

  on third parties”); Dkt. 117 at 11 (arguing regarding “the multitude of third parties

  that will produce documents in this case”). And Apple has indicated that it desires


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   to show non-party materials designated under any protective order to its employees

   and in-house counsel. Dkt. 117 at 11, 13 (for the “the multitude of third parties that

   will produce documents in this case,” Apple proposes confidentiality tiers that

   would either let (i) employees and in-house counsel or (ii) in-house counsel to

   view non-party designated materials).

III.         LEGAL STANDARD

             “Intervention as of right under Rule 24(a)(2) is granted when an applicant:

   (1) files a timely motion; (2) asserts an interest relating to the property or

   transaction that is the subject of the action; (3) is so situated that without

   intervention the disposition of the action may, as a practical matter, impair or

   impede its ability to protect its interest; and (4) has an interest not adequately

   represented by the other parties.” United States v. Pitney Bowes, Inc., 25 F.3d 66,

   70 (2d Cir. 1994). “Courts liberally construe Rule 24(a) ‘in favor of intervention.’”

   Cnty. of Cape May v. United States, 2024 WL 2818202, at *2 (D.N.J. June 3,

   2024) (quoting N.L.R.B. v. Frazier, 144 F.R.D. 650, 655 (D.N.J. 1992)). Likewise,

   Rule 24(b) allows courts to exercise their discretion and allow intervention where

   there is a timely application and the applicant’s “claim or defense [] shares with the

   main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B).




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IV.         ARGUMENT

            A.    Mandatory Intervention Is Appropriate to Protect Non-Party

                  Match Group’s and Its Portfolio Companies’ Interests in

                  Confidentiality

            Match Group is entitled to intervention as of right for the limited purpose of

  seeking protective order provisions limiting access to its competitively sensitive

  and highly confidential information and documents.

            First, Match Group’s Motion to Intervene is timely, as it is filed

  approximately two weeks after the Plaintiffs and Apple filed their proposed

  protective order submissions on September 20, 2024. See Dkts. 117, 117-1, 117-2.

  No protective order has been entered, and the Court has not yet held a hearing on

  the protective order. Dkt. 125. Match Group understands that sensitive materials

  that were submitted in response to the U.S. Department of Justice’s Civil

  Investigative Demand have not been produced in this litigation, but will likely be

  produced after the entry of a protective order. Kressin Decl. ¶ 7.

            Second, through intervention, Match Group asserts an interest relating to the

  subject of the action. A non-party’s “interest in confidentiality is sufficient to

  support limited intervention under Rule 24(a)” where the non-party’s “interests are

  not already represented by an existing party.” Constand v. Castor, 2016 WL

  5681454, at *3 (E.D. Pa. Oct. 3, 2016) (granting motion to intervene “as of right”


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  to protect confidentiality interest); Merck Sharp & Dohme Corp. v. Teva Pharms.

  USA, Inc., 2015 WL 5163035, at *2 (D. Del. Sept. 3, 2015) (granting motion to

  intervene as of right where “[c]ourts have found that the threat of disclosure of

  confidential or privileged information constitutes an interest that may be affected

  and impaired.”); Northrop Grumman Info. Tech., Inc. v. United States, 74 Fed. Cl.

  407, 414 (Fed. Cl. 2006) (“This is not a very high barrier . . . . trade secrets and

  proprietary information are the very type of interest the protection of which

  justifies intervention under Rule 24(a).”).

            As a third party that has been served a civil investigative demand from the

  U.S. Department of Justice, Match Group will seek protection of highly

  confidential and competitively sensitive non-party business information from

  disclosure to Apple’s employees and in-house counsel, to avoid facilitating the

  very antitrust violations that the lawsuit is intended to remedy. Moreover, Plaintiffs

  and Apple have indicated that there will be extensive third-party discovery in this

  matter. See Dkt. 88 at 2 (“Apple seeks to serve unlimited deposition subpoenas on

  third parties”); Dkt. 117 at 11 (arguing regarding “the multitude of third parties

  that will produce documents in this case”). As such, Match Group has a material

  interest in intervening in order to protect its and its portfolio companies’

  competitively sensitive and highly confidential information and materials.




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          Additionally, the Plaintiffs and Apple do not represent Match Group’s

interests. Match Group seeks to prevent Apple’s employees and in-house counsel

from accessing Match Group and its portfolio companies’ competitively sensitive

and highly confidential materials, whereas Apple seeks to provide its employees

and in-house counsel with access to such non-party information. Dkt. 117 at 11,

13. And the government Plaintiffs do not have the same interests as Match Group

or other third parties who seek to prevent disclosure of competitively sensitive

materials to Apple’s employees and in-house counsel.

          Third, Match Group would be irreparably harmed by the disclosure of its

and its portfolio companies’ competitively sensitive information without adequate

protections to prevent disclosure to Apple employees, because such a disclosure

cannot later be undone. See Kressin Decl. ¶¶ 6, 8; In re Sealed Case, 237 F.3d 657,

664 (D.C. Cir. 2001) (“Once the information . . . is released, ‘the cat is out of the

bag.’” (citation omitted)). For example, Match Group—a third party—has been

asked to submit highly confidential and sensitive information, including sensitive

financial and user data, on behalf of its portfolio companies, disclosure of which

could give Apple an unfair advantage in business negotiations and cause

irreparable competitive harm. See Kressin Decl. ¶¶ 6, 8; United States v. Aetna

Inc., 2016 WL 8738420, at *6 (D.D.C. Sept. 5, 2016) (“[C]ost and profitability

data for a [non-party] could provide the Defendants with a significant advantage in


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future negotiations with these [non-parties]. . . . We are talking about a number of

third parties, not targets of any [government] action, who had to give up

exceedingly confidential information in response to a government subpoena.”).

          As Apple has argued when it was similarly situated as a non-party to

litigation brought by the government against Google, “Due to the high risk of harm

that would result from disclosure of its highly sensitive information to [party]

Google, [non-party] Apple respectfully submits that the issues before the Court . . .

warrant limiting access to the most sensitive third-party information to Google’s

outside counsel only.” Non-Party Apple Inc.’s Position Statement on Protective

Order at 5, United States v. Google LLC, Case No. 1:20-cv-03010-APM, Dkt. 47

(D.D.C Nov. 20, 2020) (arguing that even if a party’s in-house counsel had access

to non-party Apple’s information, “[i]t is very difficult for the human mind to

compartmentalize and selectively suppress information once learned, no matter

how well-intentioned the effort may be to do so.”).

          Fourth, Match Group has an interest not adequately represented by the

United States, the plaintiff States, or Apple. “The requirement of the Rule is

satisfied if the applicant shows that representation of his interest ‘may be’

inadequate; and the burden of making that showing should be treated as minimal.”

Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 (1972); Merck Sharp

& Dohme Corp., 2015 WL 5163035, at *2 (“Given that the parties to the above


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captioned litigation are competitors of [the third party], [the third party’s] interest

in maintaining the confidentiality of its protected information is not adequately

represented by such parties.”).

          Match Group seeks to intervene for the limited purpose of obtaining a

protective order that prevents Apple employees, including in-house counsel, from

gaining access to Match Group’s and its portfolio companies’ highly sensitive and

confidential information. Apple has an interest in securing sensitive non-party

information and cannot represent Match Group’s interests. And it is not the

government’s information for which Match Group seeks appropriate protective

order provisions but third party sensitive and highly confidential information of

Match Group and its portfolio companies, so the government cannot adequately

represent Match Group’s interests either.

          Indeed, in the joint letter submitted to the Court on September 20, 2024

addressing protective order negotiations, neither the government plaintiffs nor

Apple included or addressed provisions relating to the disclosure of non-party

highly confidential information. See Dkt. 117 at 5–16. In contrast, Apple seeks to

provide its employees and in-house counsel with access to non-party information.

Dkt. 117 at 11, 12 (“What’s true for in-house counsel applies also to Apple

employees, whose technical knowledge and expertise are needed by outside

counsel”).


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                                      *      *      *

          Accordingly, Match Group meets each of the four elements supporting

mandatory intervention, and the Court should grant Match Group’s Motion to

Intervene as of right.

          B.    In the Alternative, Permissive Intervention Is Appropriate to

                Protect Non-Party Match Group’s and Its Portfolio Companies’

                Interests in Confidentiality

          Even if the Court finds that Match Group should not be permitted to

intervene as of right, the Court should still permit Match Group to intervene

permissively.

          Rule 24(b) allows this Court to exercise its discretion and allow intervention

where there is a timely application and the applicant’s “claim or defense [] shares

with the main action a common question of law or fact.” Fed. R. Civ. P.

24(b)(1)(B). “Rule 24(b)’s requirement that an applicant’s claim or defense and the

main action have a question of law or fact in common may be satisfied if its

intervention is for the purpose of challenging a confidentiality or protective order.”

Charlie H. v. Whitman, 213 F.R.D. 240, 245 (D.N.J. 2003).

          Additionally, the Local Rules favor intervention for non-parties protecting

confidential information for purposes of sealing. See, e.g., Civ. Rule 5.3(c)(5)

(“Any interested person may move to intervene pursuant to Fed. R. Civ. P. 24(b)


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before the return date of any motion to seal or otherwise restrict public access[.]”);

Civ. Rule 5.3(c)(9) (“Any interested person may move pursuant to L. Civ. R. 7.1

and Fed. R. Civ. P. 24(b) to intervene” to “seal or otherwise restrict public access

to materials or judicial proceedings”); Notes on Civ. Rule 5.3, subparagraph (c)(4)

(“Consistent with Pansy [v. Borough of Stroudsburg, 23 F.3d 772, 778 (3d Cir.

1994)], this subparagraph allows a person to move to intervene pursuant to Rule 24

of the Federal Rules of Civil Procedure before a motion to seal or to otherwise

restrict public access is returnable.”).

          Courts in this Circuit regularly allow for intervention when a non-party

seeks to modify a protective order. See, e.g., Ironshore Specialty Ins. Co. v.

Conemaugh Health Sys., Inc., 2021 WL 11879651, at *2 (W.D. Pa. June 22, 2021)

(“The requirements for permissive intervention have been interpreted flexibly

when a non-party seeks intervention for the limited purpose of modifying a

protective or confidentiality order.” (cleaned up)); Warren Hill, LLC v. SFR

Equities, LLC, 2020 WL 5017642, at *2 (E.D. Pa. Aug. 25, 2020) (“The law in this

circuit is well established that a court may grant a motion for permissive

intervention under Rule 24(b) solely to allow the intervenor to challenge a

protective or confidentiality order so as to obtain access to court documents under

seal. . . . We see no reason why the same analysis should not also apply where a

third party seeks to prevent disclosure.”).


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           In the alternative, Match Group meets the requirements for permissive

 intervention to obtain a protective order that prevents Apple’s employees and in-

 house counsel from accessing Match Group’s and its portfolio companies’

 competitively sensitive and/or highly confidential non-party information.

V.         CONCLUSION

           For the foregoing reasons, Match Group respectfully requests that the Court

 grant its Motion to Intervene for the limited purpose of entering a protective order

 that protects its and its portfolio companies’ highly confidential and/or

 competitively-sensitive business information from disclosure to Apple’s employees

 and in-house counsel.




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Dated: October 8, 2024                   Respectfully submitted,


                                             /s/ Marisa Rauchway
 Douglas J. Dixon (pro hac vice           Marisa Rauchway
 pending)                                 April Campos
 Tate Harshbarger (pro hac vice           CHIESA SHAHINIAN &
 pending)                                 GIANTOMASI PC
 HUESTON HENNIGAN LLP                     105 Eisenhower Parkway
 620 Newport Center Dr., Suite            Roseland, New Jersey 07068
 1300                                      (973) 325-1500
 Newport Beach, CA 92660                  mrauchway@csglaw.com
 (213) 788-4340                           acampos@csglaw.com
 ddixon@hueston.com
 tharshbarger@hueston.com

 Brandon Kressin (pro hac vice
 pending)
 KRESSIN MEADOR POWERS
 LLC
 300 New Jersey Avenue NW
 Suite 900
 Washington, DC 20001
 (202) 464-2905
 brandon@kressinmeador.com
                                          Counsel for Non-Party Match
                                          Group, Inc.




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                              CERIFICATE OF SERVICE


          I certify that a copy of the foregoing was served on this date upon all counsel

of record via ECF filing.

                                          CHIESA SHAHINIAN & GIANTOMASI
                                           PC
                                          Local Counsel for Non-Party Match Group,
                                          Inc.



                                          By /s/ Marisa Rauchway
                                              MARISA RAUCHWAY
Dated: October 8, 2024                        105 Eisenhower Parkway
                                              Roseland, New Jersey
                                              (973) 325-1500




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